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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                              Robert E. Blackburn, Judge

Criminal Action No. 14-cr-00161-REB

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. GEOFFREY LUNN,

       Defendant.


                    FINDINGS OF FACT AND CONCLUSIONS OF LAW
                         ON THE ENTRY OF A PLEA OF GUILTY

Blackburn, J.

       On May 14, 2015, I conducted a change of plea hearing during which (1) the

defendant, his counsel, counsel for the government, and I formally reviewed and

considered the plea agreement of the parties as stated in Court’s Exhibits 1 and 2 (“plea

agreement”); (2) I rearraigned the defendant under Fed. R. Crim. P. 10; and (3) I formally

advised the defendant and conducted providency proceedings under Fed. R. Crim. P. 11.

       Based upon my exchange and colloquy with the defendant under oath in open

court on the record; based upon the representations, remarks, and statements of counsel

for the government and counsel for the defendant; based upon my review of the file and

my review of the written plea agreement as stated in Court’s Exhibits 1 and 2, I enter the

following findings of fact and conclusions of law:

       That the defendant appeared to be alert and not under the influence of or impaired

by drugs, narcotics, marihuana, alcohol, medication, or intoxicants;
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       That the defendant was competent and fully understood the nature,

circumstances, and essential elements of the offenses to which his pleas of guilty were

entered;

       That the defendant understands clearly that the government has the right in a

prosecution for perjury or false statement to use against the defendant any statement that

the defendant gives under oath;

       That the defendant understood the direct and collateral consequences that he may

suffer or experience as a result of his participation in the plea agreement, his pleas of

guilty to count 8 and Count 41 of the Second Superseding Indictment and his admission

to the forfeiture allegations of the Second Superseding Indictment and the resultant felony

convictions and sentences;

       That the defendant’s pleas of guilty to count 8 and Count 41 of the Second

Superseding Indictment and his admission to the forfeiture allegations of the Second

Superseding Indictment were made and entered voluntarily, knowingly, intelligently and

intentionally, and were not the result of mistake; misunderstanding, fear, force, threats,

coercion, or undue influence by anyone;

       That the defendant’s pleas of guilty to count 8 and Count 41 of the Second

Superseding Indictment and his admission to the forfeiture allegations of the Second

Superseding Indictment were not the result of any promise or inducement made by

anyone, including legal counsel;

       That the defendant understood each of his legal rights, including the rights

enumerated at Fed. R. Crim. P. 11(b)(1)(B)and (E), and his right to a trial by jury and his

right to be represented throughout this criminal case by an attorney even if indigent; and

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that the defendant freely, voluntarily, knowingly, intelligently, and intentionally waived his

rights and privileges, including the right to trial by jury, and, except as limited expressly by

the plea agreement, his right to appeal or to collaterally attack the prosecution, conviction,

and/or sentence; however, the defendant did not waive his right to be represented

throughout this criminal case by an attorney even if indigent;

       That the defendant understood the maximum possible penalties, including

imprisonment, fine, and term of supervised release;

       That the defendant understood that in imposing sentence, I must consult and

consider the purposes and goals of sentencing as prescribed by Congress, the relevant

provisions of the advisory United States Sentencing Guidelines, any motion for a

sentence departure or variance, and the provisions of 18 U.S.C. § 3553 (a)(1)-(7); and

the defendant clearly understood that regardless of the sentence I impose, he may not

withdraw his pleas of guilty on that basis;

        That the defendant understood that the court will not be bound by any

representations by anyone concerning the penalty to be imposed;

       That a factual basis existed to support and sustain the plea agreement and the

defendant’s pleas of guilty;

       That the defendant has been represented at the change of plea hearing and

throughout this case by effective and competent counsel with whom the defendant had no

objection, criticism, or complaint whatsoever;

       That the defendant had sufficient time to read, review, discuss, and consider his

plea agreement and to discuss it carefully and thoroughly with his attorney;



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       That the defendant read, understood, and accepted each and every term and

provision within his plea agreement, which he reviewed carefully and thoroughly with his

attorney;

       That the plea agreement conformed in form and substance to the requirements of

law, including The Local Rules of Practice of the United States District Court for the

District of Colorado - Criminal; and

       That on the record considered as a whole, I conclude that I may properly accept

the defendant’s pleas of guilty to count 8 and Count 41 of the Second Superseding

Indictment and his admission to the forfeiture allegations of the Second Superseding

Indictment, which were entered in the context of his plea agreement, and defer formal

approval of the plea agreement as stated in Court’s Exhibits 1 and 2, pending opportunity

to consider the presentence report.

       Dated May 14, 2015, at Denver, Colorado.

                                                  BY THE COURT:




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